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IN THE UNITED sTATES DISTRICT cOURT H|ED BY _~2¢20_¢;_
FoR THE wEsTERN DIsTRIcT oF TENNESSEE

 

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MICHAEL D. HAWKINS, Sr., § G£SFYY%ESYH§UW
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VS. § NO. 05'2573-D/P
JOHN E. POTTER, §
Defendant. §

 

ORDER TO ISSUE SERVICE OF PROCESS

 

Plaintiff Michael D. Hawkins, Sr., filed a pro §§ employment
discrimination complaint pursuant to Title VII of the Civil Rights
Act of 1964, 42 U.S.C. § 2000e-16 and paid the filing fee. The Clerk
shall record the defendant as John E. Potter, Postmaster General.

Within thirty (30) days of the date of entry of this order, the
plaintiff shall personally appear at the Clerk’s office and, upon
presentation of a copy of this order, the Clerk shall provide
plaintiff three (3) blank, unsigned summonses. Pursuant to Fed. R.
Civ. P. 4(b), the plaintiff is responsible for properly filling out
the summonses and presenting them to the Clerk for signature and
seal. If the summonses are in proper form, the Clerk shall sign,

seal, and issue them to the plaintiff for service on the defendant.1

 

1 Plaintiff also must comply with Rule 4(c)(2), which requires, in part:

“Service may be effected by any person who is not a party and who is at least 18
years of age.”

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with Rule 58 and/or 79(3) FHCP on Cf" "0

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The plaintiff is responsible for ensuring that service is effected on
defendant Potter pursuant to Fed. R. Civ. P. 4(i)(2)(A).2

It is ORDERED that the plaintiff shall serve a copy of every
further document filed in this cause on the attorney' for the
defendant, or on the defendant if it has no attorney. The plaintiff
shall make a certificate of service on every document filed. The
plaintiff shall familiarize himself with the Federal Rules of Civil
Procedure and the local rules of this Court.

The plaintiff shall promptly notify the Clerk of any change of
address or whereabouts. Failure to comply with these requirements,
or any other order of the Court, may result in this case being
dismissed without further notice.

The plaintiff is advised that the time limit set forth in
Fed. R. Civ. P. 4(m) shall commence running on the date of entry of
this order.

IT Is so ORDE:RED this [Z‘“` day of August, 2005.

   

B RN CE B DONALD
ITED STATES DISTRICT JUDGE

 

2 Pursuant to Fed. R. Civ. P. 4(i)(2)(A), the plaintiff is required to
serve the United States attorney for this district, the Attorney General of the
United States, and the Postmaster General.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 2:05-CV-02573 Was distributed by faX, mail, or direct printing on
August 18, 2005 to the parties listed.

 

Michael D. Hawkins
2650 Forrestevan Cove
Eads, TN 38028

Honorable Bernice Donald
US DISTRICT COURT

